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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                Case No. 1:11-cr-280
                                    )
v.                                  )                Honorable Gordon J. Quist
                                    )
STEVEN QUIROZ,                      )
                                    )
                  Defendant.        )
____________________________________)


                           REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. LCRIMR 11.1, I conducted a plea hearing in the captioned

case on February 7, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Steven Quiroz entered a plea of guilty to count 1 of the Indictment charging him

with conspiracy to distribute and possession with intent to distribute 50 grams or more of

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii), 846. There was no written

plea agreement. The following oral agreement was placed on the record:

       (1)     The government will move to dismiss count 2 at the time of sentencing.

       (2)     If the court grants defendant a two-level reduction for acceptance of
               responsibility, the government will move for an additional one-point
               reduction for entry of a timely guilty plea.

       (3)     The government agrees not to bring any other charges against defendant
               arising from the conduct alleged in the Indictment, including any charge
               based on a higher purity level of the seized methamphetamine.
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There were no other agreements. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to count 1 of the Indictment be

accepted and that the court adjudicate defendant guilty of the charge. Acceptance of the plea,

acceptance of the oral plea agreement, adjudication of guilt, and imposition of sentence are

specifically reserved for the district judge.



Dated: February 7, 2012                         /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
United States v. Branch, 537 F.3d 582, 587 (6th Cir.), cert. denied, 129 S. Ct. 752 (2008); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006). General objections do not suffice. Spencer
v. Bouchard, 449 F.3d 721, 724-25 (6th Cir. 2006); see Frontier, 454 F.3d at 596-97; McClanahan
v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006).




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